Case 2:21-cv-04405-RGK-MAR Document 71-15 Filed 08/26/21 Page 1 of 5 Page ID #:979




                             Exhibit *
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                                   Exhibit G
                                      72
Case 2:21-cv-04405-RGK-MAR Document 71-15 Filed 08/26/21 Page 2 of 5 Page ID #:980

                                                                           U.S. Department of Justice

                                                                           Federal Bureau of Investigation


                                                                           Washington, DC 20535




       FBI Case Number: 272E-LA-3123472
       The items of property notated in the attached Jetter have not yet been appraised. A place holder value of
       $1.00 has been used in the letter. Another letter will be sent with updated values when the appraisal of
       those items has been completed.




                                                 Exhibit G
                                                    73
     Case 2:21-cv-04405-RGK-MAR Document 71-15 Filed 08/26/21 Page 3 of 5 Page ID #:981

                                                                                        U.S. Department of Justice

                                                                                        Federal Bureau of Lnvestigation


                                                                                        Washington, DC 20535



Jennifer Pearsons




                 NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                    ADMINISTRATIVE FORFEITURE PROCEEDINGS
                              SEIZED PROPERTY IDENTIFYING INFORMATION
             Notice Date:    May 21 , 2021                   IAsset ID Number: 21-FBl-003441
             Notice Letter ID:   264509 (use ID when searching for assets during online filing)

             Description of Seized Property:      See Attached List

             Seizure Date and Location:      See Attached List

             Forfeiture Authority:    See Attached List

I.   THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
     OR PART OF THE PROPERTY FROM THE FORFEITURE.

     TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

     A.   What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
          file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
     B.   To Fife a Petition: A petition should be fifed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
          Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
          FOB, Los Angeles, CA 90024 . ft must be received no later than 11 :59 PM EST thirty (30) days of your receipt of this Notice.
          See 28 C.F.R. Parts 8 and 9.
     C. Requirements for Petition: The petition must include a description of your interest in the property supported by
        documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
        of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

     D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file the
        petition online are available at https:/lwww.forfeiture.gov/FJlingPetition.htm. If you wish to file a petition online for the assets
        referenced in the asset list of this letter, please use the Notice Letter ID referenced above.
     E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or bank
        records showing your interest in the seized property) to sul)stantiate your petition.
     F. No Attorney Required : You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
        in filing a petition.
     G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
         Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
         Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
     H. Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
        available at www.forfeiture.gov.
     I.   Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the petitioner to
          criminal prosecution under 18 U.S.C. § 1001and18 U.S.C. § 1621 .
     J.   Online Petition Exclusions: If you cannot find the desired assets Online, you must fife your petition in writing at the

                                                              Exhibit G
          address listed above. For more details regarding what assets can be petitioned online, please see the Frequently Asked
          Questions at https:/Jwww.forfeiture.gov/FilinqPetitionFAQs.htm .
                                                                 74
   Case 2:21-cv-04405-RGK-MAR Document 71-15 Filed 08/26/21 Page 4 of 5 Page ID #:982



Jennifer Pearsons                                                Notice of Seizure



II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
    If you do not file a claim, you will waive your nght to contest the forfeiture of the asset. Additionally, if no other claims are filed, you may
    not be able to contest the forfeiture of this asset in any other proceeding, criminal or civil.

    A.    To File a Claim: A claim must be filed to contest the forfeiture. A claim should be filed online or by mailing it via the U.S.
          Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
          1700, FOB, Los Angeles, CA 90024.
    B.    Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by 11 :59 PM
          EST on June 25, 2021 . See 18 U.S.C. § 983(a)(2). A claim is deemed filed on the date received by the agency at the
          address listed above.
    C.    Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
          other interest in the property and be made under oath, subject to penalty of perjury or meet the requirements of an unsworn
          statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C. § 1746.
    D.    Claim Forms: A claim need not be made in any particular form, but a standard claim form and the link to file the claim online
          are available at https:/Jwww.forfeiture.gov/FilinqClaim.htm. See 18 U.S.C. § 983(a)(2)(D). If you wish to file a claim online
          for the assets referenced in the asset list of this letter, please use the Notice Letter ID referenced above.

    E.    Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or bank
          records showing your interest in the seized property) to substantiate your claim.
    F.    No Attorney Required: You do not need an attorney to file a claim. You may, however, hire an attorney to represent you in
          filing a claim.
    G.    When You File a Claim: A timely claim stops the administrative forfeiture proceeding. The seizing agency forwards the
          timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition for remission or mitigation.

    H.    Penalties for Filing False or Frivolous Claims: If you intentionally file a frivolous claim you may be subject to a civil fine.
          See 18 U.S.C. § 983(h). If you intentionally file a claim containing false information, you may be subject to criminal
          prosecution. See 18 U.S.C. § 1001 .
    I.    If No Claim is Filed: Failure to file a claim by 11 :59 PM EST on June 25, 2021 may result in the property being forfeited to
          the United States.
    J.    Online Claim Exclusions: If you cannot find the desired assets online, you must file your claim in writing and send to the
          address listed above. For more details regarding what assets can be claimed online, please see the Frequently Asked
          Questions at https://www.forfeiture.gov/FilingClaimFAQs.htm.

m. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
    A.   Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
         pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C. §
         983(f); 28 C.F.R. § 8.15.
    B. To File Hardship Release: The hardship request cannot be filed online and must be in writing. The claimant must
       establish the following:
          • Claimant has a possessory interest in the property;
          •Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
              and
          •Government's continued possession will cause a substantial hardship to the claimant.
    C. Regulations for Hardship: A complete list of the hardship provisions can be reviewed at 18 U.S.C. § 983(f) and 28 C.F.R. §
       8.15. Some assets are not eligible for release.




                                                                Exhibit G
                                                                   75
   Case 2:21-cv-04405-RGK-MAR Document 71-15 Filed 08/26/21 Page 5 of 5 Page ID #:983



Jennifer·Pearsons                                          Notice of Seizure

Asset List

Seizure Date and Location: The asset(s) referenced in this notice letter were seized on March 22, 2021 by the FBI at U.S.
Private Vaults in Beverly Hills, California

Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 18 USC 981 (a)(1 )(C) and the following
additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.

_______
    ASSET ID         ASSET DESCRIPTION                                                 ASSET VALUE            ACCTNIN/SERIAL NO
21-FBl-003441        Miscellaneous Precious Items from Box #4301                                 $6.00
                                 8    Miscellaneous 10 Troy oz Silver Colored                    $1 .00
                                      Bars
                                 2    Miscellaneous 1 Kilo Silver Colored Bars                   $1.00
                                54    Miscellaneous Silver Colored Coins                         $1 .00
                                 3    Silver Colored Ingots                                      $1 .00
                                86    Miscellaneous 1 oz Silver Colored Coins                    $1.00
                               514    Miscellaneous 1 Troy oz Silver Colored                     $1 .00
                                      Coins




                                                           Exhibit G
                                                              76
